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     The People of the State of Colorado, Petitioner/Cross-Respondent  v.  Alec d'Estree, Respondent/Cross-Petitioner No. 24SC687Supreme Court of Colorado, En BancMarch 3, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA237
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari DENIED.
    